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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MADESA DICKERSON and                      )
KENITA DICKERSON,                         )
                                          )
       Plaintiffs,                        )
                                          )          CIVIL ACTION NO.
       v.                                 )            2:23cv315-MHT
                                          )                 (WO)
TERRANCE WADE RAY and                     )
STATE OF ALABAMA,                         )
                                          )
       Defendants.                        )

                                       OPINION

       Pro se plaintiffs Madesa and Kenita Dickerson filed

this     lawsuit       on       behalf    of     their    severely      injured

father,     asserting           that     defendant       Terrance      Wade   Ray

assaulted        him      and    that    defendant       State    of    Alabama

failed to prosecute Ray, thereby violating his civil

rights.      This lawsuit is now before the court on the

recommendation of the United States Magistrate Judge

that plaintiffs’ case be dismissed without prejudice

because     pro      se     plaintiffs         cannot    represent      another

person      in   a     federal      lawsuit,       and    that    defendants’

motions to dismiss be denied as moot.                            There are no
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objections to the recommendation.            After an independent

and de novo review of the record, the court concludes

that the magistrate judge’s recommendation should be

adopted.

    An appropriate judgment will be entered.

    DONE, this the 13th day of March, 2024.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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